Case 1:10-cr-00317-REB Document 735-20 Filed 01/17/14 USDC Colorado Page 1of4

NOTICE OF AND RESCISSION OF ACCUSED ARMSTRONG'S NOTICE FOR
SEVERENCE OF DEFENDANTS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 213 Filed 04/29/11 USDC Colorado Page 1 of
3 CRIMINAL ACTION NO. 10-cr-00317-REB ACCUSED ARMSTRONG'S NOTICE FOR SEVERENCE OF
DEFENDANTS, Page 2 of 3 Richard Kellogg Armstrong, Page 3 of 3"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr-00317-REB Document 213
Filed 04/29/11 USDC Colorado Page 1 of 3 CRIMINAL ACTION NO. 10-cr-00317-REB ACCUSED
ARMSTRONG'S NOTICE FOR SEVERENCE OF DEFENDANTS, Page 2 of 3 Richard Kellogg Armstrong,
Page 3 of 3" including every copy bearing my signature and date, for cause. I made a
mistake creating, signing and presenting the ACCUSED ARMSTRONG'S NOTICE FOR SEVERENCE OF
DEFENDANTS. I repent of my sin.

I willingly, knowingly, voluntarily, intenttionally and intelligently perform this act
and deed.

Liny son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"Sq do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
“Give no sleep to your eyes, nor slumber to your eyelids." >"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely
4
Mie L, SA viet B70 he
F | L D Richard Kellogg “Armstfong oO
URT c/o 20413-298
UNITED STATES ORDO Federal Correctional
D , Institution - Lompoc
JAN 1.7 2014 3600 Guard Road
Lompoc, California
REY P. COLWELL
JEFr CLERK
ee eee

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-20 Filed 01/17/14 USDC Colorado Page 2 of 4

* Case 1:10-cr-00317-REB Document 213 Filed 04/29/11 USDC Colorado Page 1 of 3

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

coe cee unas nccancaccnasceconeqnncnenneneneananancarasancnararanaencnenssen se or sc SCSI SSE TT TITEL meme rene ren resnnorer rere n nen
U5 ft aT
PST: an

FROM: 20413298

TO: Armstrong, Sharon MU APR29 Fi Gb

SUBJECT: Severence 4/26

DATE: 4/26/2011 7:54:29 PM GREG. OAR

    

IN THE UNITED STAGES DISTRICT COURT
FOR THE DISTRICT )F COLORADO BY ee EP. CLK

CRIMINAL ACTION NOW§Q-cr-00317-REB
UNITED STATES OF NX
PLAINTIFF N :
Vv. \
1. CURTIS MORRIS y \ '
2. Richard Kellogg A: \
ACCUSED ’\

#BLSED ARMSTRONG'S NOTICE FOR SEXERENCE OF DEFENDANTS

“>

  

  
    
  
  
 

 

 

 

 
  
  
  

COMES NOW Richggseretiogg Armstrong, Sui Juris, a native Baenarherican, One of We the People gio by his declaration as a
citizen of the Ray Yee united States of America and a State Citizen of the Republic of Arizong, a standing on the land
evidenced by his Tig! 8 UCC-1 as well as other notarized ents that have been recorded atthe Afgona Secretary of State
and numerous other Weqre, federal and international agencies, re fully moves this Court for an Order granting his Notice for
Severence on the follow%ag

grounds: 4 &
1. Mr. Armstrongabas one living co-defendant in this ab Morris. Mr. Morris and Mr. Armstrong were indicted June 6,
2010. A superceding ifggtment was filed on February 15, 2011. V\
2. The Court ns WB to sever Mr. Armstrong’Ntrial from Mr. Morris’ under Fed. R. Crim P14 if joitgler may prejudice

him. United Stattugy Ja dus., 48 F 3d 1548 (10th Cir. 199

: N
3. Upon informa an@belief, there are statements made Ry Mr. Morris which may incriminate Lf in the charged

offenses.
\

As a Sovereign, t! of Congress do not extend into the lin\ of the States, but have force only“w the District of Columbia
and places that are j he exclusive jurisdiction of the natio vernment (SEE: Caha v. U.S.). ign is only bound to

The
the constraining certaptpof the united States Constitution 1787, It$4lf and absolutely nothing else e the laws of the
Almighty God [ELH ‘o created the Heavens and the Earth. ‘ is/Sovereign bows his knees to none
Richard Kellogg Armstrong, whose inalienable rights are Sead by the Constitution 1787, is a living
Human Being, a Cr and Claimant and is not a “Statutory person” or Juristic person, is domiciled on
Republic, otherwise Fnovg as the Republic of Arizona and therefore can only be tried in an Article III

of the Constitution 1787 al by a jury of his peers. If Mr. Armstrong and Mr. Morris were to be tried toge'
conflict of interest t r. Armstrong cannot be tried in an Administrative court.

 
    
  

 
  
  
   
 
 

l, a Sovereign, a Private
overlay of the

rt Under the common laws
there would be a

WHEREFORE, Mr. ong respectfully requests that this Court enter an Order granting his request for Severence. Mr.
Armstrong also wishes to reserve the right to supplement this Notice pending resolution of various issues by the Court as trial
approaches. 6
Case 1:10-cr-00317-REB Document 735-20 Filed 01/17/14 USDC Colorado Page 3 of 4

* Case 1:10-cr-00317-REB Document 213 Filed 04/29/11 USDC Colorado Page 2 of 3

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

CERTIFICATE OF SERVICE

nthe U.S. Mail, Certified Mail #7010 3090 0002 7265 7865 to

| hereby certify that on this 26th day of April, 2011, that ! placed i
the U.S. District Court Colorado the foregoing: DEFENDANT Armstrong's NOTICE FOR SEVERENCE OF DEFENDANTS.

{ hereby certify that i ave mailed the document to the following recipient:
Lisa M. Wayne, Attornme\

    

Ly kaypl 0°

 

2 -_? x
oe
Case 1:10-cr-00317-REB Document 735-20 Filed 01/17/14 USDC Colorado Page 4 of 4

‘ ” Case 1:10-cr-00317-REB Document 213 Filed 04/29/11 yl Colorado Page 3 of 3

 

Jeo iL ee A WM Der “us FIZ,

ee 2, 78" aa
JEL; BAVA gC bit JIENITD As! Oia nit OK LE CS Wa
Digs Quincey ve, nat
Loo TAI ZT IA!, Go S22

RECEIVED
UNITED STATES DISTR
DENVER, COLORA

      

Rou, APR 28 2011 Us be iss 2 ope A begs

4

 

Poy AGTH ss eben 4 oJ

See stae an Sevvizg, Co FEL GH ~ 2487

s9e¢ S9ced 7000 OBOE OTOd

I

aig

lag tA

 

JM 2014 CG

 

y Es
4 )
y RECON LANGHAM  Gxizcody €, Lanna  Ouieg A= THE

    

Lou jv
